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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                      )
                                                )
        Plaintiff,
                                                )
                                                )         No. 6:13-CR-26-DCR-HAI-2
 v.
                                                )
                                                )
                                                )      RECOMMENDED DISPOSITION
 ARTHUR JENT, JR.,
                                                )
                                                )
        Defendant.
                                                )
                                                )

                                     *** *** *** ***

       On January 8, 2014, the Court conducted a competency hearing in this matter, per 18

U.S.C. §§ 4241 and 4247(d). D.E. 118. Defendant filed a Motion for Psychological Evaluation

on October 4, 2013. D.E. 75. On October 10, 2013, the Court granted Defendant’s motion

following a hearing. D.E. 86. The Court ordered a custodial evaluation, and Defendant was

remanded to the custody of the United States Marshal. Id., D.E. 87. The Court, upon the

required findings, ordered that the psychiatric or psychological examination be conducted

pursuant to 18 U.S.C. § 4241(b). D.E. 87.

       The Court ordered the examination to be performed at the Federal Medical Center (FMC)

in Lexington, Kentucky. D.E. 90. All parties had access to the Psychiatric Report (“the Report”)

(D.E. 114) issued by Dr. Judith (Betsy) Campbell, Ph.D. In the Report, Dr. Campbell opined

that Defendant is competent for trial purposes. Id. After receipt of the Report, the Court set a

hearing for January 7, 2014 (D.E. 117), which was continued due to inclement weather. During

the competency hearing on January 8, 2014, the parties appeared with counsel and stipulated to

the admissibility of the Report, as well as to the Report’s findings. D.E. 118. The parties also
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waived introduction of other proof and argument in opposition, and waived the right to cross-

examine the evaluator.

       Section 4241 codifies the competency principles of Dusky v. United States, 362 U.S. 402

(1960). Thus, to be competent, a defendant must have “sufficient present ability to consult with

his lawyer with a reasonable degree of rational understanding” and “a rational as well as a factual

understanding of the proceedings against him.” Dusky v. United States, 362 U.S. 402, 402

(1960); see also 18 U.S.C. § 4241(a) (phrasing test as whether a defendant is “unable to

understand the nature and consequences of the proceedings against him or to assist properly in

his defense.”); United States v. Nichols, 56 F.3d 403, 410 (2nd Cir. 1995) (applying the “two-

prong” competency test from Dusky). Section 4247(d) governs the competency hearing, and

assures certain trial-type rights. These include the right to confront and cross-examine witnesses,

and the right to participate in the hearing. See id.; see also 18 U.S.C. § 4241(c) (referring to the

hearing procedures outlined in section 4247(d)).

       Ultimately, per section 4241(d) and based on the hearing, a defendant is not competent if,

“after the hearing, the court finds by a preponderance of the evidence that the defendant” meets

the incompetency definition of section 4241(a). This framework does not dictate which party

bears the burden, which has led to disagreement among the Circuits. Compare United States v.

Teague, 956 F.2d 1427, 1431 n.10 (7th Cir. 1992); United States v. Frank, 956 F.2d 872, 875

(9th Cir. 1991); Brown v. Warden, Great Meadow Corr. Facility, 682 F.2d 348, 352 (2nd Cir.

1982); United States v. Hollis, 569 F.2d 199, 205 (3rd Cir. 1977); and United States v. Makris,

535 F.2d 899, 906 (5th Cir. 1976) (“There can be no question that in federal criminal cases the

government has the burden of proving defendant competent to stand trial at the s 4244

hearing . . .”), with United States v. Robison, 404 F.3d 850, 856 (4th Cir. 2005) (“Under federal


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law the defendant has the burden, by a preponderance of the evidence [to show] that the

defendant is presently suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense” (internal quotation marks omitted)),

and United States v. Izquierdo, 448 F.3d 1269, 1276 (11th Cir. 2006) (“[T]he relevant

competency statute arguably contemplates that the burden will lie with the party making a

motion to determine competency.”). Here, the proof is not in any way disputed, and the Court

need not resolve the burden allocation question. See, e.g., Medina v. California, 505 U.S. 427,

449 (1992) (indicating that argument over burden, in competency context, only matters in

“narrow class” of cases where the proof is “in equipoise”).

        With stipulations from both parties as to both the admissibility and the substance of the

Report, the only proof as to current competency is the expert analysis of Dr. Campbell. The

Report reflects personal observation, a review of Defendant’s medical history and status,

sufficient psychological testing, and a thorough assessment of Defendant’s status in light of

applicable competency standards.       The author analyzed Defendant’s history, course of

evaluation, and testing performance. Dr. Campbell directly observed Defendant via interviews

and subjected him to a number of psychological tests. The evaluator also secured and reviewed

some of the relevant medical and court records, and conducted telephone interviews with

Defendant’s appointed counsel, as well as the Assistant United States Attorney assigned to the

case.

        The Report is a thorough and comprehensive assessment of Defendant’s mental and

psychiatric condition. Notably:




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          (1) The evaluation was conducted from October 21, 2013, through December 5,
              2013, which constitutes a lengthy period of evaluation during which the
              evaluator had ample opportunity to observe and evaluate Defendant. D.E. 114
              at 1.

          (2) The evaluator reviewed a mental health evaluation completed by Alexander
              Brikman and Vincent Dummer dated March 8, 2004, which found that
              Defendant suffered from Anorexia Nervosa, Restrictive Type, and Mild
              Mental Retardation. Id. at 1, 3.

          (3) The evaluator administered the Weschler Adult Intelligence Scale (Fourth
              Edition), the Minnesota Multiphasic Personality Inventory-2 Restructured
              Form, and also a series of open-ended competency related and personal
              history questions. Id. at 4–5.

          (4) Defendant displayed no problems understanding or following directions
              provided by the correctional staff, “had no difficulty comprehending unit
              rules, complying with routine demands of the environment, remembering
              scheduled appointments, . . . participating in the evaluation procedures,” was
              “viewed as cooperative by unit staff,” and “appropriately sought the assistance
              of staff in having his medical needs addressed.” Id. at 3–4.

          (5) The Weschler Adult Intelligence Scale (Fourth Edition) indicated that
              Defendant was functioning “in the Borderline to Low Average range.” Id. at
              4. The evaluator noted that “[Defendant’s] scores during a previous
              evaluation conducted in 2004 where considerably lower on all indices,” and
              attributed this to Defendant’s “admitted significant substance abuse during the
              previous evaluation.” Id. at 4.

          (6) On the Minnesota Multiphasic Personality Inventory-2 Restructured Format,
              Defendant seemed to respond openly and honestly, and the results indicated
              that while he “suffers from symptoms of anxiety and depression, [he] would
              be a good candidate for psychotherapy and antidepressant medication.” Id. at
              4–5.

          (7) Defendant was “alert, attentive, well-oriented, cooperative, and responsive to
              interviewing.” He additionally showed no signs that he was suffering from a
              thought disorder or psychosis. Id. at 5, 6.

          (8) Defendant was diagnosed with Borderline Intellectual Functioning. Id. at 7.

          (9) Defendant demonstrated that he sufficiently understood and could navigate the
               legal system and work with his attorney, though the evaluator made
               recommendations to both the Court and defense counsel in order to alleviate
               Defendant’s deficits as to verbally presented information. Id. at 9–10.


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       Thus, it is clear that Dr. Campbell accurately applied the Dusky standard as codified in

section 4241(a) to determine that Defendant is competent. Dr. Campbell notes that Defendant

“demonstrated a concrete understanding of basic legal concepts and the nature of legal

proceedings in general, and an ability to apply this knowledge to the facts of his own case.” Id.

at 8. She also positively endorsed Defendant’s ability to assist counsel in preparing his defense.

Id. As such, the Report supports a finding that both prongs of the Dusky competency test appear

to be met in this case, and its conclusions are unrebutted.

       Additionally, the Court sought the insight of counsel for the defendant, Ms. Liannie

Parahoo, who had initially requested the competency evaluation. Ms. Parahoo reported that her

observations are consistent with the opinion in the Report, and that she had reviewed the Report

with Defendant. The Court also observed and interacted with Defendant at his competency

hearing. Defendant was composed and respectful to the Court throughout the proceedings and

displayed an understanding of the proceedings against him.

       For the foregoing reasons, the Court finds no evidence which tends to show that

Defendant is not competent. That finding, of course, precludes any finding of incompetency by a

preponderance of the evidence. The Court thus finds that, per 18 U.S.C. § 4241, Defendant is

able to understand the nature and consequences of the proceedings against him and to assist

properly in his own defense. Therefore, the Court RECOMMENDS that the District Judge find

that Defendant is competent to face further proceedings, to include trial, in this matter. The

Court also RECOMMENDS that the District Judge consider implementing the suggestions

offered by Dr. Campbell in the Report in order to alleviate the potential detrimental impact of




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Defendant’s deficits in rapidly processing, assimilating, remembering, and responding to

verbally presented information. See D.E. 114 at 9.

       The Court issues this Recommended Disposition pursuant to 28 U.S.C. § 636(b)(1(B).

The parties should consult that statute and Federal Rule of Criminal Procedure 59(b) concerning

the right to appeal to the District Judge. Rule 59(b) requires that specific written objections be

filed within fourteen (14) days of service of this Recommended Disposition. Failure to object

per Rule 59(b) waives a party’s right to review.

       This the 9th day of January, 2014.




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